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  United States District Court
  Eastern District of New York                         1:18-cv-05577-WFK-RER

  Dakota Campbell-Clark, individually and
  on behalf of all others similarly situated
                                 Plaintiff

                  - against -

  Blue Diamond Growers
                                 Defendant


                         Plaintiffs’ Memorandum of Law in Opposition
                                to Defendant’s Motion to Dismiss




                                                  SHEEHAN & ASSOCIATES, P.C.
                                                  505 Northern Blvd., Suite 311
                                                  Great Neck, NY 11021
                                                  (516) 303-0552 – Tel.

                                                  Attorneys for Plaintiffs
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                                          INTRODUCTION

         Plaintiff submits this memorandum of law in opposition to defendant’s Motion to Dismiss

  the First Amended Complaint (“FAC”), and Memorandum of Law in Support (“Def. MOL”). For

  the reasons below, the motion should be denied it in its entirety.

   I.    LEGAL STANDARD ON MOTION TO DISMISS

         In evaluating a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), the “issue is not

  whether a plaintiff is likely to prevail ultimately, ‘but whether the claimant is entitled to offer

  evidence to support the claims. Indeed it may appear on the face of the pleading that a recovery is

  very remote and unlikely but that is not the test.’” Gant v. Wallingford Bd. of Educ., 69 F.3d 669,

  673 (2d Cir. 1995) (quoting Weisman v. LeLandais, 532 F.2d 308, 311 (2d Cir. 1976)). A court

  “must accept all factual allegations in the complaint as true and draw all reasonable inferences in

  the plaintiff’s favor.” Hanley v. Chicago Title Ins. Co., No. 12-cv-4418, 2013 WL 3192174, at *2

  (S.D.N.Y. June 24, 2013) (citing Famous Horse Inc. v. 5th Ave. Photo Inc., 624 F.3d 106, 108 (2d

  Cir. 2010). Thus, “[w]hen there are well-pleaded factual allegations, a court should assume their

  veracity and… determine whether they plausibly give rise to an entitlement of relief.” Woods v.

  Maytag Co., 807 F.Supp.2d 112, 118–19 (E.D.N.Y. 2011) (quoting Ashcroft v. Iqbal, 556 U.S.

  662 (2009). Plaintiffs need only assert factual allegations sufficient “to raise a right to relief above

  the speculative level.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). Plaintiff’s claim

  to relief must be “plausible on its face,” Id. at 570, and a complaint fails if it merely “tenders

  ‘naked assertion[s]’ devoid of ‘further factual enhancement.’” Iqbal, 129 S. Ct. at 1949 (quoting

  Twombly, 550 U.S. at 557. However, “[t]he plausibility standard [on a motion to dismiss] is not

  akin to a probability requirement." Iqbal, 556 U.S. at 559 129 S. Ct. at 1937. Plaintiffs need only

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  “nudge” their allegations “across the line from conceivable to plausible.” Twombly, 550 U.S. at

  548. The representations violate New York General Business Law (“GBL”) §§ 349 and 350,

  prohibiting “[d]eceptive acts or practices” and “[f]alse advertising” because they contain

  unauthorized implied nutrient content claims (“low sugar”) under the guise of “factual statements”

  and a brand name. FAC, ¶¶ 51-69.

         The purpose of these laws is “to secure an ‘honest market place’ where ‘trust,’ and not

  deception, prevails.” Goshen v. Mutual Life Ins. Co. of N.Y., 774 N.E.2d 1190, 1195, 98 N.Y.2d

  314, 324 (2002) (citation omitted). New York General Business Law (“GBL”) §§ 349

         To state a claim pursuant to GBL §§ 349 and 350, a plaintiff must allege that: (1) the

  defendant’s deceptive acts were directed at consumers, (2) the acts are misleading in a material

  way, and (3) the plaintiff was injured as a result. See, e.g., Oswego Laborers’ Local 214 Pension

  Fund v. Marine Midland Bank, 85 N.Y.2d 20, 25 (1995). Whether a particular act or practice is

  deceptive is intensely-factual, and, therefore, motions to dismiss are disfavored. See, e.g., Sims v.

  First Consumers Nat. Bank, 303 A.D. 2d 288, 289, 758 N.Y.S. 2d 284, 285-286 (1st Dept. 2003).

          “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

   accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

   U.S. 662, 678 (2009), quoting Bell Atl. Co. v. Twombly, 550 U.S. 544, 570 (2007)

          . “A claim has facial plausibility when the plaintiff pleads factual content that allows the

   court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

   Id., citing Twombly, 550 U.S. at 556. “The plausibility standard is not akin to a ‘probability

   requirement,’ but it asks for more than a sheer possibility that a defendant has acted

   unlawfully.” Id., quoting Twombly, 550 U.S. at 556-57; Williams v. Calderoni, 2012 U.S. Dist.

   LEXIS 28723, at *20 (S.D.N.Y. Mar. 1, 2012) (in evaluating a complaint under a Rule 12(b)(6)

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   standard, the Court need not accept “implausible allegations or legal conclusions expressed as

   facts”), aff’d, Williams v. Schwartz, 529 F. App'x 89 (2d Cir. 2013).

   II.   PRODUCT NAMES OF “ALMOND NUT-THINS” IS MISLEADING

         Defendant’s position disregards the well-pleaded allegations of the FAC which when taken

  as true on a motion to dismiss, weigh heavily against dismissal. These facts included (1) evolution

  of foods, (2) new technologies for producing traditional foods with novel ingredients, (3) increased

  awareness of health issues associated with consumption of traditional foods made with traditional

  ingredients and (4) defendant’s promotion of new variations on familiar foods.

           A.     The Products’ Name Gives the Impression they Will Contain More Almond
                  Component than Other Ingredients

         To prevent deception, requirements exist such that when an ingredient is promoted that

  “has a material bearing on price or consumer acceptance or when the labeling or the appearance

  of the food may otherwise create an erroneous impression that such ingredient(s) or component(s)

  is present in an amount greater than is actually the case,” the front label is required to indicate the

  percentage of that ingredient in the product. 21 C.F.R. § 102.5(b)(2) (“The percentage of a

  characterizing ingredient or component shall be declared by the words “containing (or contains) _

  percent (or %) ___” or “_ percent (or %) ___” with the first blank filled in with the percentage

  expressed as a whole number not greater than the actual percentage of the ingredient or component

  named and the second blank filled in with the common or usual name of the ingredient or

  component.”).

         Defendant’s Products, named “Almond Nut-Thins,” gives consumers the impression that

  almonds will be the main component, even though they are “rice-flour based crackers, which

  happen to include equivalent amounts of “almonds” as they do “potatoes.” FAC ¶ 39; see 21 C.F.R.


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  § 102.5(a) (guidelines for determining the “common or usual name” of a food); see FAC ¶ 40

  (“Plaintiff believed the Almond Products were made with almonds as predominant ingredient in

  the same way consumers would observe products identified as “wheat crackers” and “rice

  crackers”).

          The representations emphasizing almonds to the exclusion of the other ingredients

  “create[s] an erroneous impression that such ingredient(s) or component(s) is present in an amount

  greater than is actually the case.” 21 C.F.R. § 102.5(a)-(b); see FAC 43-44 (describing the

  representations as “misleading, false, deceptive” because it “creates an erroneous impression that

  the more valuable component – nuts, in the form of almond-based ingredients – are present in

  amounts greater than they actually are,” and “emphasizes the contribution and amount of almonds

  relative to the non-almond ingredients – rice and potatoes.”).

          Defendant’s conduct caused consumers to pay more than they otherwise would have

  because “The amount of almond ingredients has a material bearing on price and/or consumer

  acceptance of the Products.” FAC 46; 21 C.F.R. § 102.5(b).

   III.   FOOD NAMES ARE NOT STATIC BUT EVOLVE BASED UPON VARIOUS
          FACTORS

          The American food supply, like the nation it represents, is an ever-changing combination

  of the cultures and people who have made this country the world’s greatest “melting pot.” Like

  the demographic composition of our country, the foods that we eat are ever-changing, and their

  definitions, to the dismay of some, are not set in stone.

          The FAC was clear that “evolution of foods, meshing of cultures and advances in

  technology have made it such that people can purchase products such as ‘almond milk’ or ‘vegan

  butter’ – most people understand that the first term modifies the second such that neither contains

  dairy.” FAC ¶ 12; ¶ 94 (“Defendant’s purpose was to mislead consumers who seek common foods
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  (i.e., crackers) composed of non-common (i.e., almonds) ingredients.”).

          Courts have consistently recognized that consumers are adept enough to recognize that

  terms traditionally used to describe a particular type of food have become part of the lexicon, such

  that when they are modified by a term contrary to the traditional meaning of the second term, no

  consumer would plausibly expect the product to conform to the modified word.

           A.    Evolution of Foods and Consumer Preferences Cause Consumers to Seek
                 Alternatives to Wheat and Grain

          Defendant’s substantive argument begins by stating, “Nuts are Obviously Not the

  Crackers’ Primary Ingredient and a Reasonable Consumer Would Not Believe That They

  Are.” Def. Motion at 4-5 citing Mantikas v. Kellogg Co., 910 F.3d 633 (2d Cir. 2018) (“In our

  case of Cheez-Its crackers, in contrast, reasonable consumers are likely to understand that crackers

  are typically made predominantly of grain.”) (emphasis added).

          The Second Circuit did not set a bright-line rule about the types of ingredients that could

  be used in crackers. The FAC specifically acknowledged defendant’s main contention, that

  generally, and in previous decades, “it would have been difficult to imagine a cracker identified in

  this country as made from anything other than wheat,” even from other grains, like rice. FAC ¶

  10-11 (citing the example “Senbei,” or rice crackers as introduced by Japanese culture and culinary

  traditions).

          The FAC showed that consumption of wheat and grain was in sharp decline by Americans.

  FAC ¶ 17 (attributed to gluten intolerance, general criticism of wheat’s effects on the human body

  and aversion to carbohydrates); ¶ 27 (“Manufacturers and retailers have responded to the growing

  demand for gluten-free products and “[A]nything that is in the gluten world is being replaced in

  the gluten-free world—breads, cookies, brownies, rolls.”).


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           B.    Technology Allows Traditional Foods to be Made with New Ingredients

         The FAC alleged it is plausible to expect that crackers and other baked goods could be

  made containing non-wheat and grain ingredients. FAC ¶ 28 (“advances in milling and sifting [of

  non-traditional commodities] which produce textures similar to wheat flour and much greater

  consistency than in the past”).

         Almonds, the products grown and processed by defendant, are one of those alternatives to

  wheat. The FAC alleged correctly that defendant’s crackers contain “almond flour,” which

  defendant has brazenly denied. Def. Mem. at 8 (“Oddly, the AC detours to an extended and

  convoluted discussion about BDG’s marketing of an entirely different product, almond flour.”)

         However, reasonable consumers and the Court are able to take notice that a flat, crispy,

  circular cracker (right column) cannot contain an actual almond, which is round, oval shaped and

  has a hard texture (left column).

                     Almonds                                  Defendant’s Products




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             Common sense and a basic food processing textbook tells us that any raw agriculture

  commodity, to be converted into a baked good, must be ground into “a fine soft powder,” which,

  contrary to defendant’s position, is a definition of flour.1 Though “flour” has historically been

  associated with “finely milled wheat,” its definition is not exclusively linked to any one

  commodity.

             Defendant bizarrely claims the products do not contain “almond flour.” Def. MOL at 8

  (“Noticeably absent from this discussion, however, are any allegations that the Crackers contain

  almond flour (because they do not) or even that the plaintiff believed that they did”). Defendant

  boasts that “almond flour” is not contained in the ingredient list. Def. MOL at 8 (“neither the front

  of the Crackers’ packaging – which clearly identified the Crackers as containing “rice” – nor the

  ingredient list mentioned almond flour. (See, e.g., id. ¶¶ 4, 36).”); but see 21 C.F.R. §101.4(b)

  (requiring that “The name of an ingredient shall be a specific name and not a collective (generic)

  name” subject to certain exceptions, among which is not contained almonds).

             For example, tomatoes are used in food processing in numerous forms – tomato paste,

  tomato puree, tomato jam, tomato sauce, tomato powder, diced tomatoes, etc. Yet, a typical bottle

  of tomato sauce lists ingredients such as “Tomato Puree (Water, Tomato Paste), Diced Tomatoes,”

  as opposed to the solitary word “tomatoes.” This is because (1) there are differences in the

  functional, sensory, textural, organoleptic, nutrient and other properties between the specific forms

  of an ingredient (i.e., tomato paste) and the collective name (“tomato”), which consumers

  understand as referring to a tomato that has not been processed and (2) the law requires it because

  it informs consumers of the processing steps which occurred with respect to transforming a raw,

  whole ingredient into part of a fabricated food.


  1
      https://www.merriam-webster.com/dictionary/flour
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           Given that there is no logical method to convert whole almonds into shelf-stable crackers

  without reducing the almonds to a powdered form prior to blending and baking, the FAC’s

  discussion of almond flour was entirely on point and relevant. Defendant should be required to

  show the Court how it converts a whole almond into a cracker since “they do not” contain almond

  flour.

            C.    Defendant Should be Judicially Estopped from Arguing that Traditional Foods
                  Must Always be Made From Traditional Ingredients

           Defendant has been at the forefront of advocating for relaxed enforcement and

  requirements for using food names which have historically been associated with certain foods, like

  cow’s milk. Defendant should be judicially estopped from asserting that traditional foods can only

  be made with traditional ingredients, viz, crackers can only be made and are only expected to be

  made, from wheat or grain.

           The equitable doctrine of judicial estoppel can be invoked at a court's discretion to prevent

  a party from "asserting a factual position in one legal proceeding that is contrary to a position that

  it successfully advanced in another proceeding." Isnady v. Village Of Walden, No. 18-cv-02662

  (S.D.N.Y. July 19, 2019) quoting New Hampshire v. Maine, 532 U.S. 742, 750 (2001); Rodal v.

  Anesthesia Grp. of Onondaga, P.C., 369 F.3d 113, 118 (2d Cir. 2004). The doctrine is intended to

  “protect the integrity of the judicial process by prohibiting parties from deliberately changing

  positions according to the exigencies of the moment." New Hampshire, 532 U.S. at 750.

           Defendant’s position in this case with respect to the naming conventions for foods is that

  “cracker” is inextricably linked with wheat or grain, rendering it implausible the modifying term,

  or descriptor which precedes it, could shake that connection. However, in Painter v. Blue Diamond

  Growers, when defendant was advocating for its “almond milk,” it took the completely opposite

  and inconsistent position from that advanced before this Court. Painter v. Blue Diamond Growers,
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  No. 17-cv-55901, defendant’s appeal brief, Mar. 2, 2018, Dkt. 22 at 32 (“By using the term

  “almond milk”, even the least sophisticated consumer would know instantly what type of product

  they are purchasing”) compare with Def. Motion at 7 (“Given “the fact of life” that crackers are

  made predominantly of grain, a reasonable consumer would understand that the Crackers do not

  contain more almonds than rice flour.”); see Painter v. Blue Diamond Growers, No. 17-cv-

  559012018 WL 6720560 (9th Cir. Dec. 20, 2018) (“almond milk is not a "substitute" for dairy

  milk as contemplated by section 101.3(e)(1) because almond milk does not involve literally

  substituting inferior ingredients for those in dairy milk”).

         Defendant’s position in Painter was correct and plausible, and supported by other decisions

  where plaintiffs claimed that products which merely contained the word “milk” in their name

  duped them into thinking they were buying cow’s milk, or its equivalent. Ang v. Whitewave Foods

  Co., No. 13-cv-1953, 2013 WL 6492353, at *3 (N.D. Cal. Dec. 10, 2013) (“Under Plaintiffs' logic,

  a reasonable consumer might also believe that veggie bacon contains pork, that flourless chocolate

  cake contains flour, or that e-books are made out of paper.); Gitson v. Trader Joe’s Co., No. 13-

  cv-01333, 2013 WL 5513711, at *12 (N.D. Cal. Oct. 4, 2013) (finding it implausible “that a

  reasonable consumer would believe that Organic Soy Milk is cow's milk and has the same qualities

  as cow's milk”).

           D.    It is Plausible a Reasonable Consumer Would Expect the Almond Component to
                 be Predominant

         Defendant’s authorities all disregard the allegations of the FAC with respect to what a

  “cracker” can be expected to contain. In opposition, defendant has offered conclusory assertions

  instead of consumer survey evidence or opinion polls showing that few consumers expect a

  product labeled “Almond Nut Thins” to contain more almond-derived material than from other

  ingredients.
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         The Second Circuit considered the context of the “made with whole grain” claim because

  grains are more typically associated with baked goods, as opposed to “real vegetables.” Mantikas,

  910 F.3d at 638; see Red v. Kraft Foods, Inc., No. 10-cv-1028, 2012 U.S. Dist. LEXIS 164461, at

  *10-12, 2012 WL 5504011, at *3 (C.D. Cal. Oct. 25, 2012) (dismissing “made with real

  vegetables” claim that alleged the products contained a significant amount of fresh vegetables and

  were healthy).

         In Solak v. Hain Celestial Group, Inc., the plaintiff alleged the products were misleading

  because “veggie straws” did not contain “whole ripe vegetables” and did not have “the same

  nutritional profile as potatoes or ripe vegetables.” No. 17-cv-00704, 2018 WL 1870474, at *13

  (N.D.N.Y. Apr. 17, 2018) (product name of “veggie straws” not misleading because “it [would]

  strain[s] the boundaries of the English language–to say that products made primarily from potatoes

  are not made of ‘veggies’”).

         Solak was decided prior to the Second Circuit’s decision in Mantikas, and relied heavily

  on the District Court’s decision which was overturned. Mantikas v. Kellogg Co., No. 16-cv-2552,

  2017 WL 2371183, at *4 (E.D.N.Y. May 31, 2017),

   IV.   THE FAC ADEQUATELY PLEADS INJURY

         New York state and federal courts as well as the Second Circuit often look for a "price

  premium" formulation in the pleadings to find cognizable injury, which is what the FAC provides.

  Yee Ting Lau v. Pret A Manger (Usa) Limited, No. 17-cv-5775 (S.D.N.Y. Sept. 28, 2018).

         Defendant complains that Plaintiff has failed to “identify a comparison product” upon

  which she bases her price premium allegations and cites Izquierdo v. Mondelez Int’l, Inc., No. 16-

  cv-04697, 2016 WL 6459832 (S.D.N.Y. Oct. 26, 2016), for the idea that she must do so. See Def.

  Mem., pg. 10. But the notion that injury cannot be alleged absent a comparison product has been

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  rejected by many other courts, making Izquierdo anomalous. Daniel v. Mondelez Int'l, Inc. held

  that “to the extent Izquierdo holds that Plaintiff must identify a precisely comparable product in

  order to allege a GBL section 349 or 350 claim under a price premium theory, Izquierdo contradicts

  the weight of the law in this Circuit. Courts routinely allow complaints that lack allegations of both

  cheaper and exactly comparable products to survive motions to dismiss.” Daniel v. Mondelez Int'l,

  Inc., 287 F.Supp.3d 177, 198 n.19 (E.D.N.Y. 2018).

         As Daniel observed, a comparator product has never been a prerequisite of pleading a price

  premium under New York law. See Goldemberg v. Johnson & Johnson Consumer Cos., Inc., 8 F.

  Supp. 3d 467, 481-82 (S.D.N.Y. 2014) (explaining that courts "have found valid [section] 349

  claims despite plaintiffs not identifying competitors or prices" and that "while identifying the

  prices of competing products in the [c]omplaint would strengthen [the p]laintiff's allegation of

  injury," the allegations are not necessary to state a claim).

         Since the standard at the pleading stage accepts the allegations of the FAC as true, it is not

  necessary or required for plaintiff to plead the location or time of her purchase, or what was her

  thought process when she purchased the Product. These facts can be learned in discovery and

  through a deposition.

   V.    PLAINTIFF’S         UNJUST       ENRICHMENT              CLAIMS     ARE     ADEQUATELY
         PLEADED

         Defendant’s states an unjust enrichment claim is not available where it simply duplicates

  or replaces, a conventional contract or tort claim. Corsello v. Verizon N.Y., Inc., 18 N.Y.3d 777,

  790 (2012). Though correct that “[A] plaintiff may not plead the same claim more than once,

  which would constitute a duplicative claim,” the Federal Rules permit pleading claims which

  “provide alternative bases for relief.” Fed. R. Civ. P. 8(d); In re SKAT Tax Refund Scheme Litig.,

  356 F.Supp.3d 300, 325 (S.D.N.Y. 2019). The FAC’s unjust enrichment is not duplicative of the
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  contract or tort claims because plaintiffs’ consumer protection law claims may not succeed, yet the

  unjust enrichment claim would provide relief. In re SKAT Tax Refund Scheme Litig., 356 F. Supp.

  3d 300, 325-26 (S.D.N.Y. 2019).

   VI.   PLAINTIFF’S         EXPRESS       AND      IMPLIED       WARRANTY           CLAIMS       ARE
         SUFFICIENT

         For warranty claims, New York law requires “(i) a material statement amounting to a

  warranty; (ii) the buyer's reliance on this warranty as a basis for the contract with his immediate

  seller; (iii) the breach of this warranty; and (iv) injury to the buyer caused by the breach. Avola v.

  Louisiana-Pacific Corp., 991 F.Supp.2d 381, 391 (E.D.N.Y. 2013) (citing N.Y. U.C.C. § 2-313

  (1)(a)); Promuto v. Waste Mgmt., Inc., 44 F.Supp.2d 628, 642 (S.D.N.Y. 1999); CBS Inc. v. Ziff-

  Davis Publ’g Co., 553 N.E.2d 997, 1003 (N.Y. 1990).

           A.    Privity is Not Required

         Defendant claims that absent privity of contract, plaintiff’s express and implied warranty

  causes of action must fail. Def. MOL at 17 citing Ebin v. Kangadis Food Inc., No. 13-cv-2311,

  2013 WL 6504547, at *6 (S.D.N.Y. Dec. 11, 2013) and Wick v. Wabash Holding Corp., 801

  F.Supp.2d 93, 108 (W.D.N.Y. 2011) (privity required for implied warranty claim “except to

  recover for personal injuries”); Donahue v. Ferolito, Vultaggio & Sons, 13 A.D.3d 77, 78 (N.Y.

  1st Dep’t 2004).

         Defendant overlooks that the New York Court of Appeals “dispensed with the requirement

  of privity in this sort of case,” where a remote purchaser seeks redress against a manufacturer for

  product defects which cause “injury, physical or pecuniary, resulting from misrepresentations.”

  Randy Knitwear, Inc. v. American Cyanamid Co., 11 N.Y. 2d 5 at 11, 13 (1962) (recognizing that

  in the age of mass media, “Manufacturers make extensive use of newspapers, periodicals and other


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  media to call attention, in glowing terms, to the qualities and virtues of their products, and this

  advertising is directed at the ultimate consumer or at some manufacturer or supplier who is not in

  privity with them.”); Suarez v. Cal. Natural Living, Inc.,. No. 17-cv-9847, 2019 WL 1046662, at

  *4 (S.D.N.Y. Mar. 5, 2019) (applying Randy Knitwear to express warranty claims due to

  defendant’s “public advertising—namely, the products' labeling and the images of those labels

  allegedly displayed online.”) compare with FAC ¶¶ 4-8 (describing, with images, the graphics and

  text appearing on the front, back and side panels of the Products); see also Weisblum v. Prophase

  Labs, Inc., 88 F.Supp.3d 283, 287, 295-96 (S.D.N.Y. 2015) (statements on product labeling and

  packaging are "public advertising or sales literature" to which to which Randy Knitwear applies);

  Mahoney v. Endo Health Solutions, Inc., No. 15-cv-9841, 2016 WL 3951185, at *11 (S.D.N.Y.

  July 20, 2016) (applying Randy Knitwear and denying defendant’s dismissal of plaintiff’s express

  warranty claims based on defendant’s statements that defendant’s tablets contained a specific

  amount of fluoride); Sitt v. Nature's Bounty, Inc., No. 15-cv-4199, 2016 WL 5372794, at *7

  (E.D.N.Y. Sep. 26, 2016) (rejecting Ebin as against the weight of authority of case law in New

  York and finding that because “Plaintiff's claims are based on allegations related to Defendants'

  assertions in sales materials and advertisements,” the express warranty claims should not be

  dismissed).

         To the extent defendant argues that Randy Knitwear is no longer the law because it

  preceded New York’s adoption of the UCC, this position is unsupported. New York Uniform

  Commercial Code (“N.Y. U.C.C.”) § 2-313(1)(a) (“Any affirmation of fact or promise made by

  the seller to the buyer which relates to the goods and becomes part of the basis of the bargain

  creates an express warranty”) (emphasis added).

         In fact, the commentary provides further support for Randy Knitwear, stating that “the

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  warranty sections of this Article are not designed in any way to disturb those lines of case law

  growth which have recognized that warranties need not be confined either to sales contracts or to

  the direct parties to such a contract.” N.Y. U.C.C. § 2-313, cmt.2 (discussing express warranties).

         Further, the UCC expanded the affected parties who could recover based upon a breach of

  express warranty if they are those who could “reasonably be expected to use, consume or be

  affected by the goods and who is injured by breach of the warranty.” N.Y. U.C.C. § 2-318 (“Third

  Party Beneficiaries of Warranties Express or Implied.”); see FAC 76 (“The representations and

  omissions were relied on by plaintiff and class members, who paid more than they would have,

  causing damages.” Here, plaintiff and consumers are the intended third-party beneficiaries of the

  express warranties, as they, not the retail stores, are the end-users.

         Plaintiff should be allowed to marshal additional proof through discovery that they were in

  privity with defendant based upon her dealings with its agents and representatives at the retail

  level, and that defendant knew and accepted she was a third-party beneficiaries.

           B.    Defendant’s Claim of Lack of Pre-Suit Notice is Conclusory

         Defendant contends, without even a citation to statutory authority, that the warranty claims

  should be dismissed for lack of pre-suit notice. Def. Motion at 18 but see N.Y. U.C.C. § 2-607

  (“Notice of Breach”). Those claims should be sustained because (1) determination of whether

  notice was given is a question of fact not to be decided on a motion to dismiss, (2) defendant fails

  to offer proof in admissible form that plaintiff did not notify defendant, (3) actual notice in some

  form was provided to defendant by virtue of the many consumers informally complaining and

  seeking reimbursement – including through phone calls to defendant and social media interactions

  with its representatives – of the issues described here and (4) service of the Complaint and FAC,

  which themselves constituted notice.

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                 1. Whether Notice is Sufficient is a Question of Fact

         In New York, whether and to what extent notice is sufficient is a question of fact not

  susceptible to resolution on a motion to dismiss. Hubbard v. Gen. Motors Corp., No. 95-cv-4362,

  1996 WL 274018, at *4-5 (S.D.N.Y. May 22, 1996). (“[T]he sufficiency and timeliness of the

  notice is generally a question for the jury.”).

         Defendant’s failure to offer proof in admissible form that plaintiff did not comply with the

  notice provision is fatal to its argument. In place of a properly sworn affidavit from defendant’s

  mail clerk, describing the procedures and protocols related to directing mail and stating that their

  records indicate the absence of notice from plaintiff at or before the time the action was

  commenced, defendant proffers its attorney’s conclusions. However, because defendant’s counsel

  does not have personal knowledge of whether defendant received pre-suit notice from plaintiff,

  the warranty claims must prevail at the pleading stage.

                 2. Pre-Suit Notice Not Required

         According to defendant, the warranty claims must be dismissed because plaintiff did not

  provide notice of the breach. See Colella v. Atkins Nutritionals, Inc., 348 F.Supp.3d 120, 143

  (E.D.N.Y. 2018) (dismissing breach of express warranty claim for lack of pre-suit notice); Paulino

  v. Conopco, Inc., No. 14-cv-5145, 2015 WL 4895234, at *1 (E.D.N.Y. Aug. 17, 2015) (“New York

  law requires that a buyer must within a reasonable time after he discovers or should have

  discovered any breach notify the seller of breach or be barred from any remedy.”) ; Quinn v.

  Walgreen Co., 958 F.Supp.2d 533, 544 (S.D.N.Y. 2013) (same); Singleton v. Fifth Generation,

  Inc., No. 15-cv-474, 2016 WL 406295, at *12 (N.D.N.Y. Jan. 12, 2016) (dismissing breach of

  express warranty claim because plaintiff “failed to allege that he provided timely notice to

  Defendant of the alleged breach”).

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         Defendant’s argument fails to consider the line of New York Cases that create an exception

  to the notice requirement for retail customers. Neri v. R.J. Reynolds Tobacco Co., No. 98-cv-371,

  2000 WL 33911224, at *19 (N.D.N.Y. Sept.28, 2000); See also Fischer v. Mead Johnson Labs.,

  41 A.D.2d 737, 737, 341 N.Y.S.2d 257 (1st Dep’t. 1973) (overturning the Special Term and

  holding “the prescription of timely notice under the code provisions is to be applied, if at all,

  differently in commercial and retail sales situations.”); Silverstein v. R.H. Macy & Co., 266 A.D.

  5, 9, 40 N.Y.S.2d 916 (1st Dep’t. 1943) (finding that for the complaint to be sufficient, Plaintiff

  did not need a notice under section 130 of the Personal Property Law because the notice had no

  relation to goods for immediate human consumption. The Court further held that to require a

  complaint which indicates a notice of rejection or claim of damage within a reasonable time on

  account of defect of edible goods in a retail transaction, “would strain the rule beyond a breaking

  point of sense or proportion to its intended object.”); Kennedy v. F.W. Woolworth Co., 205 A.D.

  648, 649, 200 N.Y.S. 121 (1st Dep’t. 1923) (holding the similar provision of section 130 of

  Personal Property law, which was the predicate for section 2-607 of the UCC, was not applicable

  in situations involving goods sold for human consumption).

         Even if the exception is inapplicable, Defendant had notice that a defect had manifested

  and had opportunity to cure by the time the FAC was filed, several months after the initial

  complaint. Therefore, Plaintiff’s breach of express (and implied) warranty claim is properly pled

  and Defendant’s Motion to Dismiss this claim should be denied.

   VII. PLAINTIFF PLAUSIBLY ALLEGES DEFENDANT’S FRAUDULENT INTENT

         Defendant argues that Plaintiff fails to plausibly allege common law fraud because she fails

  to allege specific facts that give rise to a “strong inference of fraudulent intent.”



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         However, Plaintiff’s allegations do give rise to a strong inference that Defendant acted with

  either actual knowledge of its representations’ falsity or with reckless disregard for their truth. The

  failure to do so qualifies as reckless disregard for the truth, which satisfies the scienter requirement

  for fraud claims. See Hughes v. Ester C Co., 930 F.Supp.2d 439, 473 (E.D.N.Y. 2013) (“Plaintiffs

  bolster this claim of alleged falsity awareness by pointing to an alleged lack of supporting scientific

  evidence for defendants' claims”); O’Brien v. Nat’l Prop. Analysts Partners, 936 F.2d 674, 676

  (2d Cir. 1991) (“Rule 9(b) permits scienter to be demonstrated by inference”).

   VIII. PLAINTIFF HAS STANDING TO SEEK INJUNCTIVE RELIEF

         Plaintiffs and reasonable consumers seek to be relieved from Defendant’s continuing

  misleading and deceptive practices in the future, which is no more truthful today than when

  plaintiff first discovered the alleged deception. Ackerman v. Coca–Cola Co., 09–cv–395, 2013

  WL 7044866, at *15 n. 23 (E.D.N.Y. July 18, 2013);

         Defendant argues that Plaintiff lacks standing to pursue injunctive relief because there is

  no indication that she intends to purchase any of the Products again, and is therefore unlikely to

  suffer any future injury. Def. Mem., pgs. 4-5. However, this argument ignores that “an injunction

  in connection with a class action is designed to afford protection of future consumers from the

  same fraud. It does this by permitting the plaintiff to sue on their behalf.” Belfiore v. Procter &

  Gamble Co., F.Supp.3d 440, 445 (E.D.N.Y. 2014). To hold otherwise “denigrate[s] the New York

  consumer protection statute, designed as a major support of consumers who claim to have been

  cheated.” Id. See Delgado v. Ocwen Loan Servicing Company, LLC, No. 13-cv-4427, 2014 U.S.

  Dist. LEXIS 135758, 2014 WL 4773991, at *42 (E.D.N.Y. Sept. 23, 2014) (“Finding that Plaintiffs

  have no federal standing to enjoin a deceptive practice once they become aware of the scheme

  would eviscerate the intent of the California legislature in creating consumer protection statutes.")

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  (internal quotation marks and citation omitted); Ackerman v. Coca-Cola Co., 2013 U.S. Dist.

  LEXIS 184232, 2013 WL 7044866, at *56 n.23 (E.D.N.Y. July 17, 2013) (“[C]ourts have

  consistently held that plaintiffs have standing to seek injunctive relief based on the allegation that

  a product's labeling or marketing is misleading to a reasonable consumer. To hold otherwise would

  ‘effectively bar any consumer who avoids the offending product from seeking injunctive relief.’”)

  (quoting Koehler v. Litehouse, Inc., 2012 U.S. Dist. LEXIS 176971, 2012 WL 6217635, at *6

  (N.D. Cal. Dec. 13, 2012)).

          Some have argued that the policy considerations behind state consumer protection laws

  must yield to the Constitution. But there is no conflict between the two. The Supreme Court has

  held that “[t]he standing inquiry focuses on whether the plaintiff is the proper party to bring this

  suit.” Raines v. Byrd, 521 U.S. 811, 818 (1997). This formulation thus presupposes that the proper

  party exists: The reference is to the proper party, whomever that happens to be, not to a proper

  party, who might or might not exist. And this is consistent with the reasoning of courts that have

  held injunctive relief to be appropriate in consumer fraud class actions: Given the specific

  conundrum intrinsic to these cases—that anyone who becomes aware of the deception and so is

  positioned to bring a complaint is unlikely to be duped again—the usual application of the standing

  rule must be adjusted accordingly if there is ever to be a proper party, which the Raines formulation

  indicates there must be. In these cases, the proper party to request injunctive relief is the party that

  already has standing to request other forms of relief arising out of the same case or controversy.

  This is the best conceivable party given the very nature of the cause of action and the public

  interest. Article III does not require more than this. The alternative is a state of affairs in which

  those who need and are entitled to injunctive relief are epistemologically unable to act on that right

  while those who have the knowledge to do so are for this very reason legally disqualified from

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  doing so.

   IX.   CONCLUSION

         Though “a party may amend its pleading only with the opposing party’s written consent or

  the court’s leave” after the expiration of time for amendment as a matter of course, the Court

  “should freely give leave when justice so requires.” Fed. R. Civ. P. 15(a)(2); Foman v. Davis, 371

  U.S. 178, 182 (1962). “[T]he ‘permissive standard’ of Rule 15 ‘is consistent with [the Second

  Circuit’s] strong preference for resolving disputes on the merits.’” Loreley Fin. (Jersey) No. 3 Ltd.

  v. Wells Fargo Sec., LLC, 797 F.3d 160, 171 (2d Cir. 2015). Plaintiffs have not had an opportunity

  to amend their pleading in response to a Court order evaluating the sufficiency of his allegations.

  As the Second Circuit observed, “[w]ithout the benefit of a ruling, many a plaintiff will not see the

  necessity of amendment or be in a position to weigh the practicality and possible means of curing

  specific deficiencies.” Loreley, 797 F.3d at 190.

              For the foregoing reasons, the Court should deny Defendant’s Motion in its entirety

    or in the alternative, grant leave to amend or dismiss without prejudice.

  Dated: August 23, 2019
                                                                   Respectfully submitted,

                                                                   Sheehan & Associates, P.C.
                                                                   /s/Spencer Sheehan
                                                                   Spencer Sheehan (SS-8533)
                                                                   505 Northern Blvd., Suite 311
                                                                   Great Neck, NY 11021
                                                                   (516) 303-0552
                                                                   spencer@spencersheehan.com




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  1:18-cv-05577-WFK-RER
  United States District Court
  Eastern District of New York

  Dakota Campbell-Clark, individually and on behalf of all others similarly situated,

                        Plaintiffs,

          - against -


  Blue Diamond Growers

                        Defendant


          Plaintiffs’ Memorandum of Law in Opposition to Defendant’s Motion to Dismiss


                                      Sheehan & Associates, P.C.
                                       505 Northern Blvd., #311
                                         Great Neck, NY 11021
                                         Tel: (516) 303-0552
                                         Fax: (516) 234-7800


  Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
  New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
  under the circumstances, the contentions contained in the annexed documents are not frivolous.

  Dated: August 23, 2019
                                                                       /s/ Spencer Sheehan
                                                                       Spencer Sheehan
